                        Case: 1:14-cv-02202 Document #: 9 Filed: 05/16/14 Page 1 of 1 PageID #:151
U.S. Department of Justice
Uni'ed States Marshals Service
PLAINTIFF                                                                                                                      COURTCASENUMBER
                   a5              t{\   lf
DEFENDANT                                                                                                                      TYPE OF PROCESS
                C-o_                                                                                                                          iuzf
    ERVE                  NAME OF INDIVIDUAL, COMPANY, CORPORATION, ETC., TO SERVE OR DESCRIPTION OF PROPERTY TO SEIZE OR CONDEMN
                                                                           tr$
        )                 ADDRESS (Street'or RFD, Apartment No., City, State and ZIP Code)

        AT                                                                            lleTl,etT'
SEND NOTICE OF SERVICE COPYTO ]                              AT NAME AND ADDRESS BELOW
                                                                                                                      Number ofprocess to be
                                                                                                                      served with this Form - 285
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SPECIAL INSTRUCTIONS OR OTHER INFORMATION THAT WILL ASSIST IN EXPEDITING SERVICE (Include                                           Business                            All    r1t1




                                                                                                            dTILED
Tblephone Numbers, and Estimated Times Available For Service):                                                                                                                 ilrt
Fotd                                                                                                                                                                           .,f,.Id
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                                                                                                                      THOTVIA$      G   BRUTON
                                                                                                                                                                               r3
Signature ofAttorney or other Originator requesting service on behalf of:
                                                                                                PLAINTIFF
                                                                                           tr   DEFENDANT


SPACE BELOW FOR USE OF U.S. MARSHAL                                                     ONLY-            DO NOT WRITE BELOW THIS LINE
I acknowledge receipt for the total                       District                        Signature ofAuthorized USMS Deputy or Clerk
number of process indicated.                              of Origin
(Sign onlyfirst USM 285 if more
than one USM 285 is submitted)                            N".   at/
IherebycertifuandretumthatlEhavepersonallyserved,rE[havelegalevidenceofservice,Ehaveexecutedasshownin"Remarks",theprocessdescribed
on the individual, company, corporation, etc., at the address-shown above or on the individual, company, corpomtion, etc., shown at the address inserted below.


!      I hereby certifu and rehrm that I am unable to locate the individual, company, corporation, etc., named   abov e (See remarks below)

Name and title of individual sewed (if not shown above)                                                                                  A person of suitable age and dis-
                                                                                                                                    U    cretion then residing in lhe delendant's
                                                                                                                                         usual place ofabode.

Address (complete only if different than shown above)                                                                                                    Time


                                                                                                                                                         /o58

    Service Fee                                                       Total Charges                              Amount owed to U.S. Marshal        or     Amount of Refirnd


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REMARKS:
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PRIOREDITIONS
MAYBE USED
                                                         1. CLERI( OF THE COURT                                                              FORM USM-285 (Rev l2lr5l80)
                                                                                                                                                  (Instructions Rev 12108)
